
DANAHY, Judge.
The state contends that the trial judge erred in granting the appellant’s motion to suppress Dilaudid pills as evidence against him. We agree.
In State v. Gillum, 428 So.2d 755, No. 82-1994 (Fla. 2d DCA 1983), we reversed the trial judge’s order granting the motion *1368of the appellant’s wife to suppress the same Dilaudid pills discovered under the same circumstances as those present here. For the reasons stated in that opinion, we find that there was probable cause for the search which uncovered this evidence.
REVERSED AND REMANDED for further proceedings consistent with this opinion.
BOARDMAN, A.C.J., and GRIMES, J., concur.
